Case 2:03-cr-20445-SHl\/| Document 76 Filed 08/18/05 Page 1 of 5 Page|D 103

UN|TED STATES DlSTR|CT COURT
WESTERN DlSTRICT OF TENNESSEE F¢LED BY __,_u D.C.
MEMPH|S DlVISlON
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uNrrED s'rATEs oF AMERch
l|‘UWS M. GOUUJ
-v- 03-20445-01-Ma aim U.S» DiSiBf$f COUHT
W/D Oi: Ti'-:. l.-itMPHlS
THOMAS JOHNSON

Gre o Kro Retain d
Defense Attorney

840 Va||eybrook Drive
Memphis, Tennessee 38120

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on April 05, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section Nature of Offen e Mum NLM§)
18 U.S.C. § 922(g) Felon in possession of a firearm 01/25/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Flestitution Act of 1996.

|T |S FURTHER ORDEFlED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 02/26/1953 August 17, 2005
Deft’s U.S. Nlarsha| No.: 19310-076

Defendant’s Residence Address:
1582 Gabay
i\/lemphis, TN 38106

J//<//""Q_

SAMUEL H. NIAYS, JFf.
UN|TED STATES D|STR|CT JUDGE

/?

 

August , 2005

' ' nce
This dochnent entered on the docket sheet in compiia
Zibi FRCrP on _____________-

with Fl.ile 55 and/or 3 _ 70

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Case No: 03-20445-01~|V|a
Defendant Name: Thomas Johnson Page 2 of 4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of time already served.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgmentl
UN!TED STATES |V|AFlSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 03-20445-01-Ma
Defendant Name: Thomas Johnson Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD CONDfT|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shali not purchasel possess, use,

distribute, or administer any narcotic or other confrolied substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent piaces where controlled substances are illegally soldl used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 03-20445-01~Ma
Defendant Name: Thomas Johnson Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defandant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|TIONAL COND|T|ONS OF SUPERV|SED FlELEASE

The defendant shall also comply with the following additional conditions of supervised release:

1 . The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Officer for treatment of narcotic addiction or drug or alcohol dependency which may include
testing for the detection of substance use or abuse. Further, the defendant shall be required to
contribute to the costs of sen/ices for such treatment not to exceed an amount determined reasonable

by the Probation Officer.
2. The defendant shall maintain his lawful full-time employment
3. The defendant shall cooperate in the collection of DNA as directed by the Probation Of'ficer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitutign
$100.00

The Speciai Assessment shall be due immediateiy.

FlNE
No fine imposed.

REST|TUT|ON
No Ftestitution was ordered.

DISTRIC COURT - WESTERN D"ITRCIT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 76 in
case 2:03-CR-20445 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Gregcry Krcg

LAW OFFICE OF GREG KROG, IR.
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i\/lemphis7 TN 38120

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honcrable Samuel Mays
US DISTRICT COURT

